Case 2:05-cr-20056-SH|\/| Document 116 Filed 09/01/05 Page 1 of 2 Page|D 96

UNITED STATES DISTRICT COURT F!LEI,.`.» `t?é‘f

  

wEsTERN DISTRICT oF TENNESSEE "‘ D‘C'
Western Division 05 SEP -l PH 5: n
01 5 " "i@‘»)wtt)
UNITED sTATEs oF AMERch “ ii `T COURI
-'.:;t.i?H;s
-vs- Case No. 2:05cr20056-23Ma

LIONEL MOR'I'ON

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING’ PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, SEPTEMBER 6, 2005 at 10:45 A.M. before United States Magistrate Judge Diane
K. Vescovo in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building,
167 North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by
the United States Marshal and produced for the hearing.

Date: September1,2005 /OV[ \ f @MF

DIANE K. VESCOVO
UNITED STATES MAGISTRATE IUDGE

 

 

'If not held immediately upon defendants first appearanee, the hearing may be continued for up to three days upon
motion of the government or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(t') are present Subsection ( l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer‘s own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (BIBSJ Order of Tsrrporary Delention

Thie document entered on the docket sheet in compliance
with Flu|e 55 entl!or 32(b) FRCrP on " ’

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Notice of Distribution

This notice confirms a copy of the document docketed as number 116 in
case 2:05-CR-20056 Was distributed by faX, mail, or direct printing on
Septernber 15, 2005 to the parties listed.

 

 

Thornas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

